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 Fill in this information to identify the case:

 Debtor name         Flywheel Sports, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         20-12158
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 13, 2020                        X /s/ Travis Frenzel
                                                                       Signature of individual signing on behalf of debtor

                                                                       Travis Frenzel
                                                                       Printed name

                                                                       Authorized Signatory
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Flywheel Sports, Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)               20-12158
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                          amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                      12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                     $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                        $        4,148,613.16

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                       $        4,148,613.16


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                     $      37,269,467.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                        $            23,300.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                +$      13,847,242.93


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                              $        51,140,009.93




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                    page 1
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 Fill in this information to identify the case:

 Debtor name          Flywheel Sports, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         20-12158
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Bank of America                                        Operating Account                1381                                  $24,411.00




            3.2.     Wells Fargo                                            Deposit Account                  1898                                 $125,892.00




            3.3.     Peapack-Gladstone Bank                                 Prior operating account          4681                                           $0.00




            3.4.     SunTrust Bank                                          Certificate of Deposit           9125                                 $334,864.16



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                  $485,167.16
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor           Flywheel Sports, Inc.                                                       Case number (If known) 20-12158
                  Name

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security Deposit Held By Landlord Roseland/Stempel 21st Street Associates, L.L.C.                                $1,000.00




           7.2.     Security Deposit Held By Landlord Holly Management Corp.                                                       $20,000.00




           7.3.     Security Deposit Held By Landlord Flywheel 415 Greenwich LLC                                                     $6,120.00




           7.4.     Security Deposit Held By Landlord Beacon Operating LLC                                                         $42,000.00




           7.5.     Security Deposit Held By Landlord BP Prucenter Acquisition LLC                                                 $33,000.00




           7.6.     Security Deposit Held By Landlord 1647 Wells LLC                                                               $16,783.00




           7.7.     Security Deposit Held By Landlord Purdy Partners 1919, LLC                                                     $28,875.00




           7.8.     Security Deposit Held By Landlord Hardscrabble Commons LLC                                                       $6,500.00




           7.9.     Security Deposit Held By Landlord Needar LLC                                                                   $16,500.00



           7.10
           .    Security Deposit Held By Landlord Pearson Properties - Cainhoy 1, LLC                                              $10,267.00



           7.11
           .    Security Deposit Held By Landlord ARD 1521 Locust, LP                                                                $4,000.00



           7.12
           .    Security Deposit Held By Landlord Twenty Three R.P. Associates                                                   $750,000.00



           7.13
           .    Security Deposit Held By Landlord 245 West 17th Street Property Investors II, LLC                                  $55,000.00



           7.14
           .    Security Deposit Held By Landlord CRT ACP, LLC                                                                     $26,000.00
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 2
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 Debtor         Flywheel Sports, Inc.                                                          Case number (If known) 20-12158
                Name




            7.15
            .    Security Deposit Held By Landlord One Superior Owner LLC                                                                 $107,707.00



            7.16
            .    Security Deposit Held By Landlord L&B CIP Glades Plaza LLC                                                                $12,000.00



            7.17
            .    Security Deposit Held By Landlord BRE Properties Inc.                                                                     $11,739.00



            7.18
            .    Security Deposit Held By Landlord 224 WAN LLC                                                                             $15,955.00



            7.19
            .    Letter of Credit - Family Health International (Landlord)                                                                   Unknown



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


 9.         Total of Part 2.                                                                                                        $1,163,446.00
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable


            11b. Over 90 days old:                           1,071,073.00    -                     1,071,073.00 =....                              $0.00
                                              face amount                        doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                                  $0.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
                                                                                                        Valuation method used    Current value of
                                                                                                        for current value        debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         Flywheel Sports, Inc.                                                         Case number (If known) 20-12158
                Name

           Name of entity:                                                          % of ownership


           15.1.     Flywheel Astor Place LLC                                       100        %                                     Unknown




           15.2.     Flywheel Buckhead LLC                                          100        %                                     Unknown




           15.3.     Flywheel CCDC, LLC                                             100        %                                     Unknown




           15.4.     Flywheel Denver Union Station, LLC                             100        %                                     Unknown




           15.5.     Flywheel Domain LLC                                            100        %                                     Unknown




           15.6.     Flywheel NM LLC                                                100        %                                     Unknown




           15.7.     Flywheel Park Avenue LLC                                       100        %                                     Unknown




           15.8.     Flywheel Playa Vista, LLC                                      100        %                                     Unknown




           15.9.     Flywheel San Francisco, LLC                                    100        %                                     Unknown



           15.10
           .     Flywheel Santa Monica, LLC                                         100        %                                     Unknown



           15.11
           .     Flywheel Sports Scottsdale, LLC                                    100        %                                     Unknown



           15.12
           .     Flywheel Topanga LLC                                               100        %                                     Unknown



           15.13
           .     Flywheel Walnut Creek LLC                                          100        %                                     Unknown



           15.14
           .     Flywheel Williamsburg LLC                                          100        %                                     Unknown

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 4
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 Debtor         Flywheel Sports, Inc.                                                            Case number (If known) 20-12158
                Name




           15.15
           .     Flywheel Middle East                                                   50           %                                         Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                     $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last           Net book value of       Valuation method used     Current value of
                                                      physical inventory         debtor's interest       for current value         debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Retail Inventory                                                                  Unknown                                           Unknown



 23.       Total of Part 5.                                                                                                                     $0.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No. Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 5
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 Debtor         Flywheel Sports, Inc.                                                         Case number (If known) 20-12158
                Name

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office Furniture/Kitchen Appliances                                         Unknown                                              Unknown



 40.       Office fixtures
           Office Fixtures                                                             Unknown                                              Unknown



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office equipment, computers, audio systems,
           software                                                                    Unknown                                              Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                      $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Leased 2017 Mercedes Benz Sprinter
                     Van                                                               Unknown                                              Unknown



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Studio Spin Bikes                                                           Unknown                                              Unknown



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 6
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 Debtor         Flywheel Sports, Inc.                                                         Case number (If known) 20-12158
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 51.       Total of Part 8.                                                                                                                   $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
           property                                       extent of           debtor's interest      for current value          debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 39 West 21st Street,
                     New York, NY 10010
                     (Leased Studio)                      Lease                        Unknown                                               Unknown


           55.2.     150 Amsterdam
                     Avenue, New York,
                     NY 10023 (Leased
                     Studio)                              Lease                        Unknown                                               Unknown


           55.3.     203 East 60th Street,
                     New York, NY 10022
                     (Leased Studio)                      Lease                        Unknown                                               Unknown


           55.4.     826 Scarsdale
                     Avenue, Scarsdale,
                     NY 10583 (Leased
                     Studio)                              Lease                        Unknown                                               Unknown


           55.5.     415 Greenwich St.,
                     New York, NY 10013
                     (Leased Studio)                      Lease                        Unknown                                               Unknown


           55.6.     2130 Broadway, New
                     York, NY 10023                       License
                     (Leased Studio)                      Agmt/Lease                   Unknown                                               Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 7
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 Debtor         Flywheel Sports, Inc.                                                         Case number (If known) 20-12158
                Name

           55.7.     201 East 67th Street,
                     New York, NY 10065
                     (Leased Studio)                      Lease                        Unknown                                       Unknown


           55.8.     800 Boylston Street,
                     Suite 1900, Boston,
                     MA 02199 (Leased
                     Studio)                              Lease                        Unknown                                       Unknown


           55.9.     1653 North Wells
                     Street, Chicago, IL
                     60614 (Leased
                     Studio)                              Lease                        Unknown                                       Unknown


           55.10 1919 Purdy Ave,
           .     Miami Beach, FL
                     33139 (Leased
                     Studio)                              Lease                        Unknown                                       Unknown


           55.11 65 Montauk Highway,
           .     Suite C, East
                     Hampton, NY 11937
                     (Leased Studio)                      Lease                        Unknown                                       Unknown


           55.12 351 Millburn Avenue,
           .     Millburn, NJ 07041
                     (Leased Studio)                      Lease                        Unknown                                       Unknown


           55.13 2907 Providence
           .     Road, Suites 103 and
                     104, Charlotte, NC
                     28211 (Leased
                     Studio)                              Lease                        Unknown                                       Unknown


           55.14 402 Oberlin Rd #104,
           .     Raleigh, NC 27605
                     (Leased Studio)                      Lease                        Unknown                                       Unknown


           55.15 1521 Locust Street,
           .     Philadelphia, PA
                     19102 (Leased
                     Studio)                              Lease                        Unknown                                       Unknown


           55.16 1875 Connecticut
           .     Ave. NW,
                     Washington, DC
                     20009 (Leased
                     Studio)                              Lease                        Unknown                                       Unknown


           55.17 53-7 West 23rd
           .     Street, New York, NY
                     10010 (Leased Corp.
                     HQ)                                  Lease                        Unknown                                       Unknown

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 8
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 Debtor         Flywheel Sports, Inc.                                                         Case number (If known) 20-12158
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            55.18 245 W. 17th Street,
            .     New York, NY 10011
                     (Leased Studio)                      Lease                        Unknown                                              Unknown


            55.19 1180 West Peachtree
            .     St. NW, #106, Atlanta,
                     GA 30309 (Leased
                     Studio)                              Lease                        Unknown                                              Unknown


            55.20 710 N. State St.,
            .     Chicago, IL 60654
                     (Leased Studio)                      Lease                        Unknown                                              Unknown


            55.21
            .     Storage Unit Lease -                    Storage Unit
                     Treasure Island                      Lease                        Unknown                                              Unknown


            55.22 Storage Unit Lease -
            .     Bergen Shippers                         Leased
                     Corp                                 Storage Unit                 Unknown                                              Unknown


            55.23
            .     Storage Unit Lease -                    Leased
                     XPO Last Mile, Inc.                  Storage Unit                 Unknown                                              Unknown


            55.24
            .     Storage Unit Lease -                    Leased
                     Panurgy OEM                          Storage Unit                 Unknown                                              Unknown




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Trademarks                                                                 Unknown                                              Unknown



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 9
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 Debtor         Flywheel Sports, Inc.                                                         Case number (If known) 20-12158
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 61.        Internet domain names and websites
            www.flywheelsports.com                                                     Unknown                                              Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer list                                                              Unknown                                              Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

            Philadelphia Insurance Co. - Auto Policy                                                                                        Unknown



            Philadelphia Insurance Co. - Commercial Lines Policy                                                                            Unknown



            The Hartford - Workers' Compensation Policy                                                                                     Unknown



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 10
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 Debtor         Flywheel Sports, Inc.                                                         Case number (If known) 20-12158
                Name



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           American Express Credit Card Holdback                                                                                 $1,500,000.00



           Bank of America Credit Card Holdback                                                                                  $1,000,000.00




 78.       Total of Part 11.                                                                                                    $2,500,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 11
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 Debtor          Flywheel Sports, Inc.                                                                               Case number (If known) 20-12158
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $485,167.16

 81. Deposits and prepayments. Copy line 9, Part 2.                                                             $1,163,446.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $2,500,000.00

 91. Total. Add lines 80 through 90 for each column                                                         $4,148,613.16            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $4,148,613.16




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 12
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                                                                        Pg 15 of 80
 Fill in this information to identify the case:

 Debtor name          Flywheel Sports, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)              20-12158
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.

 2.1
        Cortland Capital Market
        Svcs.                                         Describe debtor's property that is subject to a lien            $37,269,467.00                  Unknown
        Creditor's Name                               Substantially all of the Debtor's assets
        225 W. Washington St.
        9th Floor
        Chicago, IL 60606
        Creditor's mailing address                    Describe the lien
                                                      Borrower under Credit Agreement dated as of
                                                      June 15, 2018
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        6/15/18                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        Expeditors International of
 2.2                                                                                                                          Unknown                 Unknown
        WA                                            Describe debtor's property that is subject to a lien
        Creditor's Name                               Spin Bikes
        150 Raritan Center
        Parkway
        Edison, NJ 08837
        Creditor's mailing address                    Describe the lien
                                                      UCC-1 Financing Stmt
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number



Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
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                                                                        Pg 16 of 80
 Debtor       Flywheel Sports, Inc.                                                                   Case number (if known)       20-12158
              Name

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        Susquehanna Commercial
 2.3                                                                                                                             Unknown              Unknown
        Finance                                       Describe debtor's property that is subject to a lien
        Creditor's Name                               Kitchen Appliances
        2 Country View Rd, Ste 100
        Malvern, PA 19355
        Creditor's mailing address                    Describe the lien
                                                      UCC-1 Financing Stmt
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.4    Webbank                                       Describe debtor's property that is subject to a lien                       Unknown              Unknown
        Creditor's Name                               Computer Equipment and Software
        6440 S. Wasatch Blvd, Ste
        300
        Salt Lake City, UT 84121
        Creditor's mailing address                    Describe the lien
                                                      UCC-1 Financing Stmt
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                               $37,269,467.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 3
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 Debtor       Flywheel Sports, Inc.                                                     Case number (if known)      20-12158
              Name

        Name and address                                                                        On which line in Part 1 did       Last 4 digits of
                                                                                                you enter the related creditor?   account number for
                                                                                                                                  this entity
        Holland & Knight LLP
        Attn: Joshua M. Spencer, Esq.                                                           Line   2.1
        31 W 52nd St., 12th Floor
        New York, NY 10019




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Flywheel Sports, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)          20-12158
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $3,296.00        $3,296.00
           City of Boston                                            Check all that apply.
           Office of Collector of Taxes                               Contingent
           Box 55810                                                  Unliquidated
           Boston, MA 02205                                           Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $300.00        $300.00
           City of Chicago, Dept of Finan                            Check all that apply.
           121 N Lasalle Street                                       Contingent
           Room 800                                                   Unliquidated
           Chicago, IL 60602                                          Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 48
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 Debtor       Flywheel Sports, Inc.                                                                           Case number (if known)   20-12158
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,705.00    $3,705.00
          City of Seattle                                            Check all that apply.
          PO Box 34017                                                Contingent
          Seattle, WA 98124-1017                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $466.00    $466.00
          Fulton County Tax Commissioner                             Check all that apply.
          141 Pryor St SW 1085                                        Contingent
          Atlanta, GA 30303                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $50.00    $50.00
          Incorporated Vill. of E. Hampton                           Check all that apply.
          86 Main St                                                  Contingent
          East Hampton, NY 11937                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $9,406.00    $0.00
          King County Treasury                                       Check all that apply.
          500 4th Ave                                                 Contingent
          Ste 600                                                     Unliquidated
          Seattle, WA 98104                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 48
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 Debtor        Flywheel Sports, Inc.                                                                          Case number (if known)   20-12158
               Name

 2.7        Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $3,973.00         $3,973.00
            Miami-Dade Cty Tax Collector                             Check all that apply.
            200 NW 2nd Avenue                                         Contingent
            Miami, FL 33128                                           Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Taxes
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.8        Priority creditor's name and mailing address             As of the petition filing date, the claim is:                             $340.00        $340.00
            Seattle-Dept Trans.                                      Check all that apply.
            P.O. Box 34996                                            Contingent
            Seattle, WA 98124-4996                                    Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Taxes
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.9        Priority creditor's name and mailing address             As of the petition filing date, the claim is:                             $793.00        $793.00
            Town of Highland Park                                    Check all that apply.
            4700 Drexel Drive                                         Contingent
            Highland Park, TX 75205-3107                              Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Taxes
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.10       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                             $971.00        $971.00
            Travis County Tax Office                                 Check all that apply.
            PO Box 149328                                             Contingent
            Austin, TX 78714                                          Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Taxes
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 48
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 Debtor       Flywheel Sports, Inc.                                                                   Case number (if known)            20-12158
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $261,934.00
          1151 Third Avenue LLC                                               Contingent
          c/o Acadia Rlty Trust-Lgl Dept                                      Unliquidated
          1311 Mamaroneck Ave, Suite 260                                      Disputed
          White Plains, NY 10605
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred 3/27/14
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $318,380.00
          150 Amsterdam Avenue Holdings                                       Contingent
          600 Lexington Avenue, 14th fl                                       Unliquidated
          New York, NY 10022                                                  Disputed
          Date(s) debt was incurred 4/18/2013
                                                                             Basis for the claim: Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $74,879.00
          1647 Wells LLC                                                      Contingent
          c/o Donald Goldstein                                                Unliquidated
          1653 North Wells Street                                             Disputed
          Chicago, IL 60614
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred 4/15/2013
          Last 4 digits of account number                                    Is the claim subject to offset?  No       Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $121,177.00
          224 WAN LLC                                                         Contingent
          1904 Third Avenue, Suite 806                                        Unliquidated
          Seattle, WA 98101                                                   Disputed
          Date(s) debt was incurred 9/24/2011
                                                                             Basis for the claim: Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?  No       Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $248,571.00
          245 West 17th St Prop Investor                                      Contingent
          c/o Savanna RE Fund - K. Hoo                                        Unliquidated
          10 East 53rd Street, 37th Fl.                                       Disputed
          New York, NY 10022
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred 10/9/13
          Last 4 digits of account number                                    Is the claim subject to offset?  No       Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $20,983.00
          284 Partners, LLC                                                   Contingent
          215 E Washington St                                                 Unliquidated
          Ste 201                                                             Disputed
          Ann Arbor, MI 48104
                                                                             Basis for the claim: Consultant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $132,792.00
          3rd & 60th Associates LP                                            Contingent
          c/o Olshan Prop. - Lease Admin                                      Unliquidated
          5500 New Albany Road East                                           Disputed
          New Albany, OH 43054
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred 2/28/2014
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Flywheel Sports, Inc.                                                                   Case number (if known)            20-12158
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,463.00
          Accountemps                                                         Contingent
          12400 Collections Center Dr.                                        Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $14,866.00
          ADR 1521 Locust, L.P.                                               Contingent
          Attn: Allan Domb                                                    Unliquidated
          1845 Walnu St., Suite 2200                                          Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred 4/13/2012
          Last 4 digits of account number                                    Is the claim subject to offset?  No       Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $8,840.00
          AireSpring, Inc.                                                    Contingent
          1801 W Olympic Blvd.                                                Unliquidated
          File 1422                                                           Disputed
          Pasadena, CA 91199-1422
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $14,098.00
          Akamai Technologies, Inc                                            Contingent
          P.O. Box 26590                                                      Unliquidated
          New York, NY 10087                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $45,690.00
          Alala LLC                                                           Contingent
          401 Broadway                                                        Unliquidated
          Apt 2001                                                            Disputed
          New York, NY 10013
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $20,000.00
          Alison Brod Marketing + Comm.                                       Contingent
          373 Park Ave S., 4th Fl                                             Unliquidated
          New York, NY 10016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Consultant
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $795.46
          Alison Cohen                                                        Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes




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              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $535.00
          Alpine Disposal Inc                                                 Contingent
          3301 Benson Drive                                                   Unliquidated
          Ste 601                                                             Disputed
          Raleigh, NC 27609
                                                                             Basis for the claim: Utilities
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $90,150.00
          Amazon Advertising LLC                                              Contingent
          PO Box 24651                                                        Unliquidated
          Seattle, WA 98124-0651                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $14,726.00
          Amazon Web Services                                                 Contingent
          410 Terry Ave N                                                     Unliquidated
          Seattle, WA 98109                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $6,337.00
          Amazon.com                                                          Contingent
          PO Box 530958                                                       Unliquidated
          Atlanta, GA 30353-0958                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $6,430.00
          American Direct Logistics LLC                                       Contingent
          40 Queens St                                                        Unliquidated
          #692                                                                Disputed
          Syosset, NY 11791
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $91.00
          American Eagle Pest Control                                         Contingent
          5257 NW 198 Terrace                                                 Unliquidated
          Miami Gardens, FL 33055                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $6,691.04
          American Express                                                    Contingent
          Cps Remittance Processing                                           Unliquidated
          20500 Belshaw Ave                                                   Disputed
          Carson, CA 90746
                                                                             Basis for the claim: Credit Card
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $12,764.00
          American Express                                                    Contingent
          Cps Remittance Processing                                           Unliquidated
          20500 Belshaw Ave                                                   Disputed
          Carson, CA 90746
                                                                             Basis for the claim: Credit Card
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $6,451.00
          American Mechanical Services of Maryland                            Contingent
          13300 Mid Atlantic Blvd                                             Unliquidated
          Montpelier, MD 20708                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,050.00
          American Red Cross                                                  Contingent
          25688 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Flywheel Ride Partnership
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $45.87
          Anais Marin                                                         Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $797.09
          Antonio Waldo                                                       Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $156,326.00
          AP Sunset Harbour, LP                                               Contingent
          444 Brickell Avenue                                                 Unliquidated
          Suite 201                                                           Disputed
          Miami, FL 33131
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $346,898.00
          Aramark Uniform & Career Apparel Group,                             Contingent
          2680 Palumbo Drive                                                  Unliquidated
          Lexington, KY 40509                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $905.00
          Arista A/C Corp                                                     Contingent
          38-26 Tenth Street                                                  Unliquidated
          Long Isl. City, NY 11101                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $480.00
          Ashli M Katz                                                        Contingent
          1340 Lincoln Rd                                                     Unliquidated
          Apt 801                                                             Disputed
          Miami Beach, FL 33139
                                                                             Basis for the claim: Wages
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $301.00
          AT&T                                                                Contingent
          P.O. Box 5014                                                       Unliquidated
          Carol Stream, IL 60197-5014                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number 4180
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $61.00
          Atmos Energy                                                        Contingent
          P.O. Box 790311                                                     Unliquidated
          St. Louis, MO 63179-0311                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,786.00
          Automated Building Management Systems, I                            Contingent
          54 Cherry Lane                                                      Unliquidated
          Floral Park, NY 11001                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $9,262.00
          Bazaarvoice, Inc.                                                   Contingent
          P.O. Box 671654                                                     Unliquidated
          Dallas, TX 75267                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $18,738.00
          BDO USA, LLP                                                        Contingent
          100 Park Ave                                                        Unliquidated
          New York, NY 10017                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Advisor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $130,153.00
          Beacon Operating LLC                                                Contingent
          2130 Broadway                                                       Unliquidated
          New York, NY 10023                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: License Agreement/Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $144,000.00
          Belcarra Retail                                                     Contingent
          P.O. Box 39000                                                      Unliquidated
          Dept 34563                                                          Disputed
          San Francisco, CA 94139
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $28,398.00
          Bergen Shippers Corp                                                Contingent
          461 From Rd                                                         Unliquidated
          Ste 255                                                             Disputed
          Paramus, NJ 07652
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $172,000.00
          Best Buy                                                            Contingent
          7601 Penn Ave. S.                                                   Unliquidated
          Richfield, MN 55423-3645                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $281.00
          Bieri & Ames                                                        Contingent
          660 Woodward Ave                                                    Unliquidated
          Suite 1500                                                          Disputed
          Detroit, MI 48226
                                                                             Basis for the claim: Lawyer / Advisor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $7,316.00
          Bigart-Ecosystems LLC (dba Wisetail)                                Contingent
          212 S Wallace Ave                                                   Unliquidated
          Suite 2B                                                            Disputed
          Bozeman, MT 59715
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $381.00
          BMI                                                                 Contingent
          PO Box 630893                                                       Unliquidated
          Cincinnati, OH 45263-0893                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: IP Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $165,067.00
          BP Prucenter Acquisition LLC                                        Contingent
          800 Boylston Street                                                 Unliquidated
          Suite 1900                                                          Disputed
          Boston, MA 02199-8103
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred 2/23/2013
          Last 4 digits of account number                                    Is the claim subject to offset?  No       Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $144,000.00
          BRE Properties, Inc.                                                Contingent
          c/o Wallace Properties                                              Unliquidated
          330 112th Ave., PO Box 4184                                         Disputed
          Bellevue, WA 98009
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred 10/15/2011
          Last 4 digits of account number                                    Is the claim subject to offset?  No       Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,887.00
          BRE Properties, Inc.                                                Contingent
          PO Box 39000                                                        Unliquidated
          Dept 34563                                                          Disputed
          San Francisco, CA 94139
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,038.00
          Bright Pattern Inc                                                  Contingent
          1250 Bayhill Dr.                                                    Unliquidated
          Suite 101                                                           Disputed
          San Bruno, CA 94066
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,903.00
          Briscoe Protective Systems, Inc.                                    Contingent
          99 Mark Tree Road                                                   Unliquidated
          Suite 201                                                           Disputed
          Centereach, NY 11720-2276
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $15,335.00
          Brite Building Services Inc.                                        Contingent
          105 Maxess Rd                                                       Unliquidated
          Ste 124                                                             Disputed
          Elville, NY 11747
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $742.28
          Brooke Connors                                                      Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $5,871.00
          Canada Dry                                                          Contingent
          PO Box 403685                                                       Unliquidated
          DE Valley Bot. Co PA Ctr. City                                      Disputed
          Atlanta, GA 30384
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,730.00
          Canada Dry Potomac                                                  Contingent
          PO BOX 404925                                                       Unliquidated
          Atlanta, GA 30384                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,246.00
          Canada Dry Potomac                                                  Contingent
          PO Box 404925                                                       Unliquidated
          Atlanta, GA 30384                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $185.00
          CAP Barbell Inc                                                     Contingent
          10820 Westpark Dr                                                   Unliquidated
          Houston, TX 77042                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $421.00
          Carr Business Systems, Inc.                                         Contingent
          PO Box 28330                                                        Unliquidated
          New York, NY 10087-8330                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $346.00
          CDW Direct LLC                                                      Contingent
          PO Box 75723                                                        Unliquidated
          Chicago, IL 60675                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $708.00
          Certified Flameproofing Corporation                                 Contingent
          17 North Ingelore Court                                             Unliquidated
          Smithtown, NY 11787                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $33,830.00
          Charhon Callahan Robson & Garza PLLC                                Contingent
          3333 Lee Pkwy                                                       Unliquidated
          Ste 460                                                             Disputed
          Dallas, TX 75219
                                                                             Basis for the claim: Lawyer / Advisor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $200.00
          Charlotte Alarm Management Service                                  Contingent
          PO Box 602486                                                       Unliquidated
          Charlotte, NC 28260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,208.00
          CHLIC                                                               Contingent
          PO Box 644546                                                       Unliquidated
          Pittsburgh, PA 15264-4546                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Healthcare Ins. Provider
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,312.00
          Choice Beverage USA Inc                                             Contingent
          PO Box 40                                                           Unliquidated
          Lowell, NC 28098                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,960.00
          Chris Long Foundation                                               Contingent
          100 S. Brentwood Blvd                                               Unliquidated
          Ste 500                                                             Disputed
          St Louis, MO 63105
                                                                             Basis for the claim: Flywheel Ride Partnership
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $122,711.00
          Cigna Behavioral Health, Inc                                        Contingent
          P.O. Box 1450 NW 7307                                               Unliquidated
          Minneapolis, MN 55485                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Healthcare Ins. Provider
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $31,034.00
          Cisco Systems Capital Corporation                                   Contingent
          P.O. Box 742927                                                     Unliquidated
          Los Angeles, CA 90074-2927                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $795.00
          Citiwide Self Storage                                               Contingent
          45-55 Pearson Street                                                Unliquidated
          Long Isl. City, NY 11101                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $795.00
          Citiwide Self Storage                                               Contingent
          45-55 Pearson Street                                                Unliquidated
          Long Isl. City, NY 11101                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $326.00
          City Expeditor, Inc.                                                Contingent
          25 West 26th St, 2nd Fl                                             Unliquidated
          New York, NY 10010                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $277.00
          City of Miami Beach, FL - Parking Permit                            Contingent
          1700 Convention Center                                              Unliquidated
          Miami Beach, FL 33139                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Permit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,745.00
          City of Scottsdale                                                  Contingent
          7447 E Indian School Rd                                             Unliquidated
          Scottsdale, AZ 85251                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Permit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $462.00
          Clearview Building Services                                         Contingent
          6440 SW 42nd St                                                     Unliquidated
          Davie, FL 33314                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $442.00
          Club Purchasing Service, Inc.                                       Contingent
          403 County Road                                                     Unliquidated
          Unit 3                                                              Disputed
          Cliffwood, NJ 07721-4500
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2.00
          Comcast                                                             Contingent
          P.O. Box 34744                                                      Unliquidated
          Seattle, WA 98124-1744                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $130.00
          Comcast                                                             Contingent
          P.O. Box 3002                                                       Unliquidated
          Southeastern, PA 19398-3002                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $149.00
          Comcast                                                             Contingent
          P.O. Box 1577                                                       Unliquidated
          Newark, NJ 07101-1577                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $332.00
          Comcast                                                             Contingent
          700 Dresher Rd                                                      Unliquidated
          Horsham, PA 19044                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $57.00
          Commercial Lighting Industries                                      Contingent
          81161 Indio Blvd                                                    Unliquidated
          Indio, CA 92201                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $823.00
          Commonwealth Packaging Co                                           Contingent
          5490 Linglestown Road                                               Unliquidated
          Harrisburg, PA 17112                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $888.00
          ConEdison                                                           Contingent
          JAF Station PO Box 1702                                             Unliquidated
          New York, NY 10116-1702                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $991.00
          ConEdison                                                           Contingent
          Jaf Station, P.O. Box 1702                                          Unliquidated
          New York, NY 10116-1702                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $472.00
          Consolidated Graphics Communications                                Contingent
          PO Box 645631                                                       Unliquidated
          Cincinnati, OH 45264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,454.00
          Corporation Service Company                                         Contingent
          2711 Centerville Road                                               Unliquidated
          Suite 400                                                           Disputed
          Wilmington, DE 19808
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,007.26
          Courtney Mayer                                                      Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,593.00
          Coverall North America Inc                                          Contingent
          2955 Momentum Place                                                 Unliquidated
          Chicago, IL 60689                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,928.00
          Creative Circle LLC                                                 Contingent
          PO Box 74008799                                                     Unliquidated
          Chicago, IL 60674                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $77,377.00
          Crescent Cameron Venture 1 LLC                                      Contingent
          Attn:Cameron Village Prop.Mngr                                      Unliquidated
          227 W. Trade Street, Ste. 1000                                      Disputed
          Charlotte, NC 28202
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred 12/5/2012
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $13,753.00
          CRT ACP, LLC                                                        Contingent
          1180 W. Peachtree Street NW                                         Unliquidated
          Suite 2250, Attn: Prop. Mngr.                                       Disputed
          Atlanta, GA 30309
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred 8/8/2013
          Last 4 digits of account number                                    Is the claim subject to offset?  No       Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,080.00
          CVS Pharmacy Inc                                                    Contingent
          83649 Collection Center Dr                                          Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $993.00
          Dale Electronics Corp                                               Contingent
          148-04 95th Ave                                                     Unliquidated
          Jamaica, NY 11435                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $50,000.00
          David Seldin                                                        Contingent
          1571 Oceanview Dr                                                   Unliquidated
          Tierra Verde, FL 33715
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Consulting
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $50,000.00
          Decoded Advanced Media LLC                                          Contingent
          40 Exchange Pl                                                      Unliquidated
          Ste 1500                                                            Disputed
          New York, NY 10005
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,159.00
          Department of Labor and Industries                                  Contingent
          PO Box 34022                                                        Unliquidated
          Seattle, WA 98124-1022                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $9,786.00
          DFX Sound Vision                                                    Contingent
          465 E Taunton Ave                                                   Unliquidated
          Suite 108                                                           Disputed
          West Berlin, NJ 08091
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $76,148.00
          DGA Security Systems, Inc.                                          Contingent
          429 West 53rd Street                                                Unliquidated
          New York, NY 10019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,693.00
          District Central Station LLC                                        Contingent
          140 S. Columbus Ave                                                 Unliquidated
          Mount Vernon, NY 10550                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,069.00
          Dominion Mechanical Contractors, Inc                                Contingent
          5265 Port Royal Road                                                Unliquidated
          Suite 100                                                           Disputed
          Springfield, VA 22151
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $467.00
          Duke Energy                                                         Contingent
          P.O. Box 70516                                                      Unliquidated
          Charlotte, NC 28272-0516                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $981.54
          Edgar Camacho                                                       Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,040.00
          EK Beverage Company                                                 Contingent
          Snowcap Foods                                                       Unliquidated
          22145 68th Ave S                                                    Disputed
          Kent, WA 98032
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $367.00
          EK Beverage Company                                                 Contingent
          Snowcap Foods                                                       Unliquidated
          22145 68th Ave S                                                    Disputed
          Kent, WA 98032
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,007.58
          Elizabeth Lang                                                      Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $97,750.00
          Elmsford Elite Laundry, LLC                                         Contingent
          399A Executive Blvd                                                 Unliquidated
          Elmsford, NY 10523                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $50.00
          Employment Development Dept.                                        Contingent
          P.O. Box 989061                                                     Unliquidated
          West Sacramento, CA 95798-9061                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $227.00
          Employment Security Dept.                                           Contingent
          UI Tax Administration                                               Unliquidated
          PO Box 34949                                                        Disputed
          Seattle, WA 98124-1949
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,656.00
          Estes Forwarding Worldwide, LLC                                     Contingent
          P.O. Box 26206                                                      Unliquidated
          Richmond, VA 23260                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $150.00
          Exact Meter Reading Corp.                                           Contingent
          408 E 17th Street                                                   Unliquidated
          Bronx, NY 10457                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $37,198.00
          Excelym, LLC                                                        Contingent
          2300 Jane Ln                                                        Unliquidated
          Mountain View, CA 94043                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,664.00
          Exclaimer Ltd                                                       Contingent
          9-11 Alexandra Rd.                                                  Unliquidated
          FarnbouroughHa., UK GU14 6BU                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $95,354.00
          Expeditors Int'l of Washington                                      Contingent
          150 Raritan Center Pkwy                                             Unliquidated
          Edison, NJ 08837                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?  No       Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $9,908.00
          Falcon Engineered Security Solutions Inc                            Contingent
          P.O. BOX 740643                                                     Unliquidated
          Bronx, NY 10474                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $193,387.00
          Family Health International                                         Contingent
          Attn: Christy McFall                                                Unliquidated
          1825 Connecticut Ave. NW                                            Disputed
          Washington, DC 20009
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred 4/25/14
          Last 4 digits of account number                                    Is the claim subject to offset?  No       Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $7,624.00
          FedEx                                                               Contingent
          PO Box 371461                                                       Unliquidated
          Pittsburgh, PA 15250                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $253.00
          FedEx Office and Print Services Inc                                 Contingent
          PO Box 672085                                                       Unliquidated
          Dallas, TX 75267-2085                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,724.00
          Filco Carting Corp                                                  Contingent
          197 Snediker Ave                                                    Unliquidated
          Brooklyn, NY 11207                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $586.00
          Florida State Security, Inc.                                        Contingent
          6221 Pembroke Road                                                  Unliquidated
          Hollywood, FL 33023                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $226,640.00
          Flywheel 415 Greenwich LLC                                          Contingent
          263 13th Ave. South, Suite 340                                      Unliquidated
          Suite 340                                                           Disputed
          St Petersburg, FL 33701
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred 8/7/2013
          Last 4 digits of account number                                    Is the claim subject to offset?  No       Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $109,404.00
          Flywheel Digital LLC                                                Contingent
          1801 Porter St.                                                     Unliquidated
          #300                                                                Disputed
          Baltimore, MD 21230
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $518.00
          FPL                                                                 Contingent
          General Mail Facility                                               Unliquidated
          Miami, FL 33188-0001                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,191.16
          Francesca Brucato                                                   Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $200.00
          Francesca Wilby                                                     Contingent
          678 E Walnut Street                                                 Unliquidated
          Unit 315                                                            Disputed
          Pasadena, CA 91101
                                                                             Basis for the claim: Wages
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,275.00
          Friends of Facing Hist. School                                      Contingent
          1838 Mohegan Ave                                                    Unliquidated
          Bronx, NY 10460                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Flywheel Ride Partnership
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $402.00
          Frontier Communications                                             Contingent
          PO Box 740407                                                       Unliquidated
          Cincinnati, OH 45274                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number 9145
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $81.00
          Frontier Communications                                             Contingent
          PO Box 740407                                                       Unliquidated
          Cincinnati, OH 45274                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number 5125
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,200.00
          GBT US LLC                                                          Contingent
          Attn: Travel A/R                                                    Unliquidated
          14635 N Kierland Blvd.                                              Disputed
          Phoenix, AZ 85254
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $360.00
          GFL Environmental                                                   Contingent
          3301 Benson Dr                                                      Unliquidated
          Ste 601                                                             Disputed
          Raleigh, NC 27609
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,016.00
          Giannuzzi Group LLP                                                 Contingent
          411 W 14th St                                                       Unliquidated
          4th fl                                                              Disputed
          New York, NY 10014
                                                                             Basis for the claim: Consultant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,074.00
          Gleason & Elfering                                                  Contingent
          1246 Karl Ct                                                        Unliquidated
          Wauconda, IL 60084                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $8,595.00
          Global Facility Management & Constructio                            Contingent
          545 Broadhollow Road                                                Unliquidated
          Suite 100                                                           Disputed
          Melville, NY 11747
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,263.00
          Global Music Rights LLC                                             Contingent
          1100 Glendon Avenue                                                 Unliquidated
          #2000                                                               Disputed
          Los Angeles, CA 90025
                                                                             Basis for the claim: IP Licensor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $7,900.00
          Glory Star Group Ltd                                                Contingent
          Flat D,5/F, Excelsior Bldg                                          Unliquidated
          364 Nathan Road                                                     Disputed
          Jordan, Hong Kong
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $367.00
          GOAT HOLDINGS, LLC dba
          MOTOSPORT.COM, LL                                                   Contingent
          1678 Redstone Center Dr                                             Unliquidated
          Apt 210                                                             Disputed
          Park City, UT 84098
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,797.00
          Grainger                                                            Contingent
          Dept 877914242                                                      Unliquidated
          Palatine, IL 60038-0001                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $95,935.00
          Granite Telecommunications -                                        Contingent
          100 Newport Ave Ext.                                                Unliquidated
          Quincy, MA 02171                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number 0847
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $38,976.00
          Greenberg Traurig, LLP                                              Contingent
          1840 Centurv Park East                                              Unliquidated
          Ste 1900                                                            Disputed
          Los Angeles, CA 90067
                                                                             Basis for the claim: Lawyer / Advisor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $7,730.00
          Greenhouse Software                                                 Contingent
          P.O. Box 392683                                                     Unliquidated
          Pittsburgh, PA 15251                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $500.00
          GS1 US                                                              Contingent
          Dept 781271                                                         Unliquidated
          P.O. Box 78000                                                      Disputed
          Detroit, MI 48278
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $606.00
          GTT Communications                                                  Contingent
          PO Box 842630                                                       Unliquidated
          Highland Park, TX 75284                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Hailey Keen                                                         Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Severance Agreement

                                                                             Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,109.16
          Hailey Robledo                                                      Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $94,338.00
          Hardscrabble Commons LLC                                            Contingent
          65 Montauk Hihgway, Suite A                                         Unliquidated
          East Hampton, NY 11937                                              Disputed
          Date(s) debt was incurred 12/24/2010
                                                                             Basis for the claim: Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?  No       Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $9,722.00
          Harrow Sports                                                       Contingent
          600 W. Bayaud Ave                                                   Unliquidated
          Denver, CO 80223                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $11,761.00
          Hewlett-Packard Financial Services Co.                              Contingent
          P.O. Box 402582                                                     Unliquidated
          Atlantas, GA 30384                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $489.00
          Hi-Tech Security Services, Inc.                                     Contingent
          PO Box 428                                                          Unliquidated
          Suffern, NY 10901                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $58,301.00
          Hoffmann Marshall Strong LLP                                        Contingent
          116 W 23rd St                                                       Unliquidated
          Ste 500                                                             Disputed
          New York, NY 10011
                                                                             Basis for the claim: Lawyer / Advisor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,885.00
          Holland & Knight LLP                                                Contingent
          31 West 52nd Street                                                 Unliquidated
          New York, NY 10019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Lawyer / Advisor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $5,342.00
          Hollman Inc.                                                        Contingent
          1825 W Walnut Hill Lane                                             Unliquidated
          #110                                                                Disputed
          Irving, TX 75038
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $84,278.00
          Holly Management Corp.                                              Contingent
          12 Frontage Street                                                  Unliquidated
          Elmsford, NY 10523                                                  Disputed
          Date(s) debt was incurred 7/31/2012
                                                                             Basis for the claim: Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?  No       Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $210.64
          Holly Rilinger                                                      Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $14,847.00
          HotSchedules.com, Inc                                               Contingent
          P.O. Box 848472                                                     Unliquidated
          Dallas, TX 75284                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $25,000.00
          Icon Health & Fitness, Inc                                          Contingent
          1500 S 1000 W                                                       Unliquidated
          Logan, UT 84321                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $122,400.00
          Icon Interactive                                                    Contingent
          220 Felch Street                                                    Unliquidated
          Ann Arbor, MI 48103                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $6,781.00
          Imperial Dade                                                       Contingent
          255 Route 1 & 9                                                     Unliquidated
          Jersey City, NJ 07306                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,143.00
          Innovative Mechanical Inc                                           Contingent
          80 Tanforan Ave                                                     Unliquidated
          #7 SO                                                               Disputed
          San Francisco, CA 94080
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $12,267.00
          Intelligent Management Solutions, LLC                               Contingent
          4400 Bayou Blvd.                                                    Unliquidated
          Suite 6                                                             Disputed
          Pensacola, FL 32503
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,565.00
          Iron Mountain Inc.                                                  Contingent
          PO Box 27128                                                        Unliquidated
          New York, NY 10087-7128                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $126.01
          Isabella Moreno                                                     Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes




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 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $333.00
          J&B Importers Inc                                                   Contingent
          PO Box 161859                                                       Unliquidated
          Miami, FL 33116                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $16,250.00
          Jackson Walker LLP                                                  Contingent
          2323 Ross Ave                                                       Unliquidated
          Ste 600                                                             Disputed
          Dallas, TX 75201
                                                                             Basis for the claim: Lawyer / Advisor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $60.03
          Jason Morss                                                         Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $636.16
          Jenny Roberts                                                       Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $609.00
          Jersey Central P&L - First Energy                                   Contingent
          P.O. Box 3687                                                       Unliquidated
          Akron, OH 44309-3687                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $930.65
          Jessica Conners                                                     Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $7,000.00
          Joseph Teegardin                                                    Contingent
          84 Havermeyer Street                                                Unliquidated
          Apt 16                                                              Disputed
          Brooklyn, NY 11211
                                                                             Basis for the claim: Wages
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,353.99
          Julie Albanese                                                      Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $21,876.00
          Kapnag Heating & Plumbing Corp                                      Contingent
          109 W 38th St                                                       Unliquidated
          Ste 801                                                             Disputed
          New York, NY 10018
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $806.72
          Kasey Lacore                                                        Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $861.83
          Katie Gottfried                                                     Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $9,406.00
          King County Treasury                                                Contingent
          500 4th Ave                                                         Unliquidated
          Ste 600                                                             Disputed
          Seattle, WA 98104
                                                                             Basis for the claim: Taxes
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $272,762.00
          L&B CIP Glades Plaza LLC                                            Contingent
          302 Datura Street                                                   Unliquidated
          West Palm Beach, FL 33401                                           Disputed
          Date(s) debt was incurred 6/30/2010
                                                                             Basis for the claim: Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?  No       Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $820.00
          LADWP                                                               Contingent
          P.O. Box 30808                                                      Unliquidated
          Los Angeles, CA 90030-0808                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $995.23
          Lawrence Beyer                                                      Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,896.00
          LAZ Karp Associates LLC                                             Contingent
          15 Lewis Street                                                     Unliquidated
          Hartford, CT 06103                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $20,878.00
          Leason Ellis LLP                                                    Contingent
          One Barker Ave                                                      Unliquidated
          5th Fl                                                              Disputed
          White Plains, NY 10601
                                                                             Basis for the claim: Lawyer / Advisor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $12,515.00
          Lennox National Accounts                                            Contingent
          P.O. Box 731627                                                     Unliquidated
          Dallas, TX 75373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Lew Frankfort                                                       Contingent
          Benvolio Group LLC
          3 Columbus Circle, 21st fl.
                                                                              Unliquidated
          New York, NY 10019                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Indemnity

          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $26,507.00
          Life Fitness                                                        Contingent
          9525 Bryn Mawr Ave                                                  Unliquidated
          Rosemont, IL 60018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $850.00
          Live X, Inc                                                         Contingent
          483 10th Avenue                                                     Unliquidated
          Suite 210                                                           Disputed
          New York, NY 10018
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $885.00
          LJ Security                                                         Contingent
          P.O. Box 206                                                        Unliquidated
          Glenwood, NJ 07417                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $49,975.00
          Logomotion                                                          Contingent
          265 East 66th St                                                    Unliquidated
          Ste 5G                                                              Disputed
          New York, NY 10065
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $297.00
          Long Building Technologies, Inc                                     Contingent
          5001 S. Zuni Street                                                 Unliquidated
          Littleton, CO 80120                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $825.58
          Luana Perez                                                         Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $45,245.00
          Lululemon USA Inc                                                   Contingent
          250H St                                                             Unliquidated
          PMB 5000                                                            Disputed
          Laine, WA 98230
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $6,376.00
          Mad Dogg Athletics, Inc.                                            Contingent
          2111 Narcissus Court                                                Unliquidated
          Venice, CA 90291                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,580.00
          Malin & Goetz Inc                                                   Contingent
          330 Seventh Ave                                                     Unliquidated
          Floor 21                                                            Disputed
          New York, NY 10001
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $11,160.00
          Manhattan Fruit Exchange                                            Contingent
          448 West 16th St                                                    Unliquidated
          New York, NY 10011-7083                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,073.17
          Mary Stunja                                                         Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,446.04
          Mary Todd                                                           Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $576.00
          Mass Movement Inc                                                   Contingent
          65 Green Street                                                     Unliquidated
          Suite 1                                                             Disputed
          Foxboro, MA 02035
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $1,438,728.00
          McKool Smith                                                        Contingent
          300 W. 6th Street                                                   Unliquidated
          Suite 1700                                                          Disputed
          Austin, TX 78701
                                                                             Basis for the claim: Lawyer / Advisor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $38,171.00
          MediaNet, Inc                                                       Contingent
          2401 Elliot Ave                                                     Unliquidated
          Ste 300                                                             Disputed
          Seattle, WA 98121
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,697.00
          Mercedes - Benz Manhattan Inc                                       Contingent
          770 11th Avenue                                                     Unliquidated
          New York, NY 10019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Vehicle Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $24,900.00
          Mercury Thread LLC                                                  Contingent
          18 Bird St                                                          Unliquidated
          East Walpole, MA 02032                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $85,645.00
          Meritus Intelytics Private Limited                                  Contingent
          Gutenberg IT Park, 2 fl.                                            Unliquidated
          KondapurHydera., India 00050-0084                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,250.00
          Metropolis Group Inc                                                Contingent
          22 Cortland Street                                                  Unliquidated
          10th Floor                                                          Disputed
          New York, NY 10007
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $316,979.00
          mGage, LLC                                                          Contingent
          16233 Kenyon Ave                                                    Unliquidated
          Suite 130                                                           Disputed
          Lakeville, MN 55044
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,002.27
          Michael Piscadlo                                                    Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $784.00
          Microsoft Corporation                                               Contingent
          PO Box 847833                                                       Unliquidated
          Dallas, TX 75284-7833                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $18.00
          Miguel Cepeda                                                       Contingent
          81 Park Avenue                                                      Unliquidated
          East Orange, NJ 07017                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $85.00
          Monoprice Inc                                                       Contingent
          PO Box 740417                                                       Unliquidated
          Los Angeles, CA 90074                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $8,580.00
          Movable Inc                                                         Contingent
          PO Box 200338                                                       Unliquidated
          Pittsburgh, PA 15251                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $864.00
          Mutual of Omaha                                                     Contingent
          PO Box 2147                                                         Unliquidated
          Omaha, NE 68103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Insurer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,327.00
          Myriad Supply Company                                               Contingent
          22 West 19th St                                                     Unliquidated
          4th Fl                                                              Disputed
          New York, NY 10011
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,312.57
          Natalie Cohen                                                       Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,349.00
          Nathan Bright Architect                                             Contingent
          68 Jay Street                                                       Unliquidated
          #322                                                                Disputed
          Brooklyn, NY 11201
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $31,500.00
          Needar LLC                                                          Contingent
          c/o Nalitt                                                          Unliquidated
          75 Main Street, Suite 202                                           Disputed
          Millburn, NJ 07041
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred 1/21/2011
          Last 4 digits of account number                                    Is the claim subject to offset?  No       Yes




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 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $288.00
          NeoFunds by Neopost                                                 Contingent
          PO BOX 6813                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,437.00
          NetGym Corporation                                                  Contingent
          39 Shively Road                                                     Unliquidated
          Ladera Ranch, CA 92694                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $156,776.00
          Netsuite, Inc.                                                      Contingent
          Oracle America, Inc.                                                Unliquidated
          500 Oracle Parkway                                                  Disputed
          Redwood Shores, CA 94065
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $19.00
          New Jersey American Water                                           Contingent
          P.O. Box 371331                                                     Unliquidated
          Pittsburgh, PA 15250-7331                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $79,636.00
          New Tech Mechanical Systems, Inc                                    Contingent
          25A Moffitt Blvd                                                    Unliquidated
          Bay Shore, NY 11706                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $52.00
          Niagara Cycle.com                                                   Contingent
          2045 Niagara Falls Blvd                                             Unliquidated
          Niagara Falls, NY 14304                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $9,229.00
          NYC Fire Department                                                 Contingent
          Church St Station                                                   Unliquidated
          P.O. Box 840                                                        Disputed
          New York, NY 10008-0840
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $445.00
          Olympic II Mall Services                                            Contingent
          P.O. BOX 19930                                                      Unliquidated
          Fountain Hills, AZ 85269                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $120,806.00
          One Superior Owner LLC                                              Contingent
          c/o Riverstone Residential OSP                                      Unliquidated
          1 W. Superior Street                                                Disputed
          Chicago, IL 60654
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred 3/21/2011
          Last 4 digits of account number                                    Is the claim subject to offset?  No       Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,980.00
          OnePoint Technologies, Inc                                          Contingent
          3380 Trickum Road                                                   Unliquidated
          #300-100                                                            Disputed
          Woodstock, GA 30188
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $35,000.00
          Open Realty Advisors                                                Contingent
          2305 Cedar Springs Rd                                               Unliquidated
          Ste 100                                                             Disputed
          Dallas, TX 75201
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $19,500.00
          Ops On Tap, LLC                                                     Contingent
          P.O. Box 188                                                        Unliquidated
          Stinson Beach, CA 94940                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $168.00
          Oracle America, Inc                                                 Contingent
          500 Oracle Parkway                                                  Unliquidated
          Redwood Shores, CA 94605                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,117.00
          PagerDuty, Inc.                                                     Contingent
          Dept. 3817                                                          Unliquidated
          PO Box 123817                                                       Disputed
          Dallas, TX 75312
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $155,823.00
          PanurgyOEM                                                          Contingent
          701 Ford Road                                                       Unliquidated
          Rockaway, NJ 07866                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $1,535,250.00
          Patterson Belknap Webb & Tyler LLP                                  Contingent
          1133 Avenue of the Americas                                         Unliquidated
          New York, NY 10036-6710                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Lawyer / Advisor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,882.00
          Paulson-Cheek Mechanical Inc                                        Contingent
          6145 Northbelt Parkway                                              Unliquidated
          Suite F                                                             Disputed
          Norcross, GA 30071
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $77,377.00
          PBOne Cameron LP c/o York Properties                                Contingent
          2108 Clark Ave                                                      Unliquidated
          Raleigh, NC 27605                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $1,707,500.00
          Peapack Gladstone (PPP loan)                                        Contingent
          P.O. Box 700                                                        Unliquidated
          Bedminster, NJ 07921-1538                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: PPP Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $9,578.00
          Peapack-Gladstone Bank                                              Contingent
          P.O. Box 700                                                        Unliquidated
          Bedminster, NJ 07921-1538                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Bank Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $103.00
          Pedro Guerrero                                                      Contingent
          3229 Tibbett Ave                                                    Unliquidated
          Bronx, NY 10463                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Corp. Credit Card Expenses
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $153,660.00
          Peloton                                                             Contingent
          125 W 25th St.                                                      Unliquidated
          11th Fl                                                             Disputed
          New York, NY 10001
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $60.00
          Peoples Gas                                                         Contingent
          P.O. Box 19100                                                      Unliquidated
          Green Bay, WI 54307-9100                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $194.00
          Peoples Gas                                                         Contingent
          P.O. Box 19100                                                      Unliquidated
          Green Bay, WI 54307-9100                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $72,907.00
          Philadelphia Insurance                                              Contingent
          P.O. Box 70251                                                      Unliquidated
          Philadelphia, PA 19176-0251                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Insurer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $180.00
          Polar Beverages Corporation                                         Contingent
          1001 Southbridge St                                                 Unliquidated
          Worcester, MA 01610                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $13,753.00
          PR II Regions Plaza LLC                                             Contingent
          1180 West Peachtree St                                              Unliquidated
          Ste 500                                                             Disputed
          Atlanta, GA 30309
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,240.00
          PR Newswire Association                                             Contingent
          G.P.O. Box 5897                                                     Unliquidated
          New York, NY 10087-5897                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $97,521.00
          Providence Plaza Charlotte LLC                                      Contingent
          Attn: Asset Mgmt                                                    Unliquidated
          222 Central Park Ave, Ste 2100                                      Disputed
          Virginia Beach, VA 23462
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred 2/16/18
          Last 4 digits of account number                                    Is the claim subject to offset?  No       Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $873.00
          PSEG Long Island                                                    Contingent
          PO Box 9050                                                         Unliquidated
          Hicksville, NY 11802                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $156,326.00
          Purdy Partners 1919, LLC                                            Contingent
          c/o SRC Properties                                                  Unliquidated
          230 Fifth Street                                                    Disputed
          Miami Beach, FL 33139
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred 3/10/2011
          Last 4 digits of account number                                    Is the claim subject to offset?  No       Yes
 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,000.00
          Rachele M Pojednic                                                  Contingent
          39 Pearl Street                                                     Unliquidated
          Apt #3                                                              Disputed
          Charlestown, MA 02129
                                                                             Basis for the claim: Competition Winner
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $228.99
          Rachelle Eldridge                                                   Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $117,671.00
          Rad Furniture LLC                                                   Contingent
          2405 Forney St                                                      Unliquidated
          Los Angeles, CA 90031                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,208.88
          Ranier Lopez                                                        Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes




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 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $11,050.00
          Raze Services Inc                                                   Contingent
          324 Moore Ave Bldg                                                  Unliquidated
          Apt 7                                                               Disputed
          Suffolk, VA 23434
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $16,316.00
          Recycle Track Systems, Inc.                                         Contingent
          P.O. Box 412782                                                     Unliquidated
          Boston, MA 02241                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $817.00
          Redblue Inc                                                         Contingent
          1416 Center Park Dr                                                 Unliquidated
          Charlotte, NC 28217                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $150.00
          RF Window Services                                                  Contingent
          145-44 116th Avenue                                                 Unliquidated
          Jamaica, NY 11436                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $37,458.00
          RingCentral Inc                                                     Contingent
          20 Davis Dr                                                         Unliquidated
          Belmont, CA 94002                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,495.00
          RK Mechanical, Inc. a Colorado Corporati                            Contingent
          3800 Xanthla Street                                                 Unliquidated
          Denver, CO 80238                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,426.00
          Rockbot, Inc                                                        Contingent
          1308 Broadway                                                       Unliquidated
          Oakland, CA 94612                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $269,382.00
          Roseland/Stempel 21st St Assoc                                      Contingent
          c/o Roseland Property Co.                                           Unliquidated
          150 John F. Kennedy Pkwy, 5 fl                                      Disputed
          Short Hills, NJ 07078
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred 2/22/2010
          Last 4 digits of account number                                    Is the claim subject to offset?  No       Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $29,550.00
          RSM Maintenance                                                     Contingent
          461 From Road                                                       Unliquidated
          Suite 255                                                           Disputed
          Paramus, NJ 07652
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $10,781.00
          Run Rite Mechanical Corp.                                           Contingent
          113A 13th Street                                                    Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $457,814.00
          S&P Yard, Inc                                                       Contingent
          25 Broadway                                                         Unliquidated
          FL 2                                                                Disputed
          New York, NY 10004
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $25,873.00
          Sailthru, Inc                                                       Contingent
          160 Varick St                                                       Unliquidated
          12th Fl                                                             Disputed
          New York, NY 10013
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $15,072.00
          Salesforce.com, Inc                                                 Contingent
          P.O. Box 203141                                                     Unliquidated
          Dallas, TX 75320-3141                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $659.65
          Samantha Mueller                                                    Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes




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 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,130.00
          Scan Sound                                                          Contingent
          265 S. Federal Highway                                              Unliquidated
          Suite 163                                                           Disputed
          Dearfield Beach, FL 33441-4146
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $8,773.00
          ServiceChannel.com; Inc                                             Contingent
          PO Box 419223                                                       Unliquidated
          Boston, MA 02241-9223                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $8,410.00
          SESAC                                                               Contingent
          55 Music Square East                                                Unliquidated
          Nashville, TN 37203                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: IP Licensor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $8,000.00
          SET Artist Management LLC                                           Contingent
          31 W 34th St                                                        Unliquidated
          7th Fl                                                              Disputed
          New York, NY 10001
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $62,581.00
          SHI International Corp                                              Contingent
          P.O. Box 952121                                                     Unliquidated
          Dallas, TX 75395                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $9,144.00
          Solar Protection Inc                                                Contingent
          73-01 32nd Avenue                                                   Unliquidated
          Flushing, NY 11370                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $921.00
          Spectrotel                                                          Contingent
          PO Box 1949                                                         Unliquidated
          Newark, NJ 07101                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $200.00
          Stephen McFadden                                                    Contingent
          3029 West Pl.                                                       Unliquidated
          Sarasota, FL 34234                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Consultant
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,075.00
          Stern Environmental Group, LLC                                      Contingent
          30 Seaview Drive                                                    Unliquidated
          Seacaucus, NJ 07094                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $110.00
          Suez Water Westchester District                                     Contingent
          3229 Tibbett Avenue                                                 Unliquidated
          Bronx, NY 10463                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $299.00
          Summit Window Cleaning                                              Contingent
          PO Box 1458                                                         Unliquidated
          Union County, NJ 07901                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $77.84
          Sydney Sabean                                                       Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,832.00
          Tableau Software, Inc.                                              Contingent
          P.O. Box 204021                                                     Unliquidated
          Dallas, TX 75320-4021                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $12,500.00
          Tawsif Ahmed                                                        Contingent
          14303 101 Avenue                                                    Unliquidated
          2nd Floor                                                           Disputed
          Jamaica, NY 11435
                                                                             Basis for the claim: Wages
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $30.00
          Teco Peoples Gas                                                    Contingent
          P.O. Box 31017                                                      Unliquidated
          Tampa, FL 33631-3017                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,544.00
          Telemetrics Inc                                                     Contingent
          75 Commerce Drive                                                   Unliquidated
          Allendale, NJ 07401                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $331.00
          Terminix Processing Center                                          Contingent
          209 North Center Drive                                              Unliquidated
          North Brunswick, NJ 08902                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $29,956.00
          The American Bottling Company                                       Contingent
          21431 Network Pl                                                    Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $40,138.00
          The Dacus Firm, P.C.                                                Contingent
          821 Ese Loop 323                                                    Unliquidated
          Suite 430                                                           Disputed
          Tyler, TX 75701
                                                                             Basis for the claim: Lawyer / Advisor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $16,175.00
          The Execu|Search Group LLC                                          Contingent
          675 3rd Ave                                                         Unliquidated
          5th Fl                                                              Disputed
          New York, NY 10017
                                                                             Basis for the claim: Trade vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $229.00
          The FruitGuys LLC                                                   Contingent
          490 Eccles Avenue                                                   Unliquidated
          S. San Francisco, CA 94080                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Flywheel Sports, Inc.                                                                   Case number (if known)            20-12158
              Name

 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $200.00
          The Pest Authority Inc                                              Contingent
          PO Box 220704                                                       Unliquidated
          Charlotte, NC 28222                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,232.00
          ThyssenKrupp Elevator Corporation                                   Contingent
          PO Box 933004                                                       Unliquidated
          Atlanta, GA 31193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $873.00
          Time Warner Cable                                                   Contingent
          P.O. Box 70872                                                      Unliquidated
          Charlotte, NC 28272-0872                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $186.00
          Time Warner Cable                                                   Contingent
          P.O. Box 11820                                                      Unliquidated
          Newark, NJ 07101-8120                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $174.08
          Todd Allen                                                          Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $6,048.70
          Travis Frenzel                                                      Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $11,097.00
          Treasure Island Storage                                             Contingent
          2325 Hollers Ave                                                    Unliquidated
          Bronx, NY 10475                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Storage
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $636.00
          True Commerce, Inc                                                  Contingent
          90 S Cascade Ave                                                    Unliquidated
          Ste 1200                                                            Disputed
          Colo. Springs, CO 80903
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $31,546.00
          Turner PR                                                           Contingent
          4030 Easton Station                                                 Unliquidated
          Ste 300                                                             Disputed
          Columbus, OH 43219
                                                                             Basis for the claim: Consultant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $662,393.00
          Twenty Three R.P. Associates                                        Contingent
          c/o Adams & Co Real Estate                                          Unliquidated
          411 Fifth Avenue, 9th Fl.                                           Disputed
          New York, NY 10016
                                                                             Basis for the claim: Lease
          Date(s) debt was incurred 10/1/2015
          Last 4 digits of account number                                    Is the claim subject to offset?  No       Yes
 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $8,329.00
          Tyco Integrated Security LLC                                        Contingent
          PO Box 371967                                                       Unliquidated
          Pittsburgh, PA 15250-7967                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $477.00
          U Street Park America, LLC                                          Contingent
          PO Box 37754                                                        Unliquidated
          Baltimore, MD 21297                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $588.00
          U.S. Coffee                                                         Contingent
          51 Alpha Plaza                                                      Unliquidated
          Hicksville, NY 11801                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $22,002.00
          Unifirst Corporation                                                Contingent
          P.O. Box 911526                                                     Unliquidated
          Dallas, TX 75391                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $35,000.00
          USI Advisors Inc                                                    Contingent
          95 Glastonbury Blvd                                                 Unliquidated
          Ste 102                                                             Disputed
          Glastonbury, CT 06033
                                                                             Basis for the claim: Consultant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $25.62
          Valentina Gil                                                       Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $66.84
          Valentina Marin                                                     Contingent
          Redacted                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim: Wages

                                                                             Is the claim subject to offset?    No  Yes
 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $773.00
          Verizon                                                             Contingent
          PO Box 15124                                                        Unliquidated
          Albany, NY 12212                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $164.00
          Verizon                                                             Contingent
          PO Box 15124                                                        Unliquidated
          Albany, NY 12212                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $5,648.00
          Vero Water Group LLC                                                Contingent
          1680 Michigan Ave                                                   Unliquidated
          PH7                                                                 Disputed
          Miami Beach, FL 33139
                                                                             Basis for the claim: Trade Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $45,762.00
          W.B. Mason                                                          Contingent
          P.O. Box 981101                                                     Unliquidated
          Boston, MA 02298-1101                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $848.00
          Waste Connections Of Florida                                        Contingent
          3840 NW 37th Ct                                                     Unliquidated
          Miami, FL 33142                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,000.00
          William Vitacco Associates, Ltd                                     Contingent
          299 Broadway                                                        Unliquidated
          5th Floor                                                           Disputed
          New York, NY 10007
                                                                             Basis for the claim: Consultant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $12,701.00
          Willow Bend Market                                                  Contingent
          P.O. Box 660394                                                     Unliquidated
          Dallas, TX 75266-0394                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $47,636.00
          Wilson Sonsini Goodrich & Rosati                                    Contingent
          650 Page Mill Rd                                                    Unliquidated
          Palo Alto, CA 94304-1050                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Lawyer / Advisor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,312.00
          Xcel Energy AutoPay                                                 Contingent
          PO Box 59                                                           Unliquidated
          Minneapolis, MN 55440                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,291.00
          Xerox Financial Services                                            Contingent
          PO Box 202882                                                       Unliquidated
          Dallas, TX 75320                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $107,283.00
          XPO Last Mile, Inc                                                  Contingent
          6314 Fly Road                                                       Unliquidated
          East Syracuse, NY 13057                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.302     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $4,063.00
           Zendesk Inc                                                        Contingent
           1019 Market Street                                                 Unliquidated
           San Francisco, CA 94103                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $550.00
           Zero In Media, Inc                                                 Contingent
           PO Box 9019                                                        Unliquidated
           Hicksville, NY 11802                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim: Trade Vendor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       1151 Third Avenue LLC
           c/o Acadia Rlty Trust-PropMgmt                                                             Line     3.1
           1311 Mamaroneck Ave, Suite 260
           White Plains, NY 10605                                                                           Not listed. Explain


 4.2       Beacon Broadway Co. LLC
           c/o Hotel Beacon - T. Travers                                                              Line     3.36
           2130 Broadway, Suite 201
           New York, NY 10023                                                                               Not listed. Explain


 4.3       Beacway Operating, LLC
           2130 Broadway                                                                              Line     3.36
           New York, NY 10023
                                                                                                            Not listed. Explain

 4.4       Belkin Burden Wnig & Goldman
           270 Madison Ave., 5th Fl.                                                                  Line     3.36
           Attn: Howard Wenig
           New York, NY 10016                                                                               Not listed. Explain


 4.5       Brandywine Construction & Mgmt
           Attn:Mark Berman                                                                           Line     3.9
           1521 Locust St., Suite 400
           Philadelphia, PA 19102                                                                           Not listed. Explain


 4.6       Brookfield RE Financial Prtnrs
           Attn: Sr. VP                                                                               Line     3.212
           200 Vesey Street, 11th Fl.
           New York, NY 10281-1021                                                                          Not listed. Explain


 4.7       DLA Piper LLP
           Attn: Edward S. Goldman                                                                    Line     3.212
           203 N. LaSalle Street
           Chicago, IL 60601                                                                                Not listed. Explain




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 Debtor       Flywheel Sports, Inc.                                                               Case number (if known)           20-12158
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.8       FHI 360
           Attn: Robert Mohar                                                                    Line      3.109
           359 Blackwell St
           Durham, NC 27701                                                                            Not listed. Explain


 4.9       Goulston & Storrs, P.C.
           Attn: Prudential                                                                      Line      3.43
           400 Atlantic Avenue
           Boston, MA 02110-3333                                                                       Not listed. Explain


 4.10      Henry J. Donner, Esq.
           Jacoby Donner, P.C.                                                                   Line      3.9
           1700 Market Street, Suite 3100
           Philadelphia, PA 19103                                                                      Not listed. Explain


 4.11      Herrick Feinstein LLP
           2 Park Avenue                                                                         Line      3.7
           Attn: Carol Goodman
           New York, NY 10016                                                                          Not listed. Explain


 4.12      Lewis Wiseman
           873 Culebra Road                                                                      Line      3.44
           Hillsborough, CA 94010
                                                                                                       Not listed. Explain

 4.13      McDermott Will & Emery LLP
           Attn: William Stempel                                                                 Line      3.5
           340 Madison Avenue
           New York, NY 10173                                                                          Not listed. Explain


 4.14      Pearson Properties - Cainhoy 1
           Attn: Property Manager                                                                Line      3.232
           8200 Roberts Dr., Suite 600
           Atlanta, GA 30350                                                                           Not listed. Explain


 4.15      Wallace Properties
           Attn: General Counsel                                                                 Line      3.44
           525 Market Street, 4th Floor
           San Francisco, CA 94105                                                                     Not listed. Explain


 4.16      York Properties
           1901 Cameron Street                                                                   Line      3.84
           Raleigh, NC 27605
                                                                                                       Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.          $                    23,300.00
 5b. Total claims from Part 2                                                                        5b.    +     $                13,847,242.93

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.          $                   13,870,542.93




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 Fill in this information to identify the case:

 Debtor name         Flywheel Sports, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         20-12158
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.         State what the contract or                  201 East 67th Street,
              lease is for and the nature of              New York, NY 10065
              the debtor's interest                       (Studio Lease)

                  State the term remaining                3/27/2024
                                                                                      1151 Third Avenue LLC
              List the contract number of any                                         1311 Mamaroneck Ave, Suite 260
                    government contract                                               White Plains, NY 10605


 2.2.         State what the contract or                  150 Amsterdam Avenue
              lease is for and the nature of              New York, NY 10023
              the debtor's interest                       (Studio Lease)

                  State the term remaining                4/18/2023
                                                                                      150 Amsterdam Avenue Holdings
              List the contract number of any                                         600 Lexington Avenue, 14th Fl.
                    government contract                                               New York, NY 10022


 2.3.         State what the contract or                  1653 North Wells
              lease is for and the nature of              Street, Chicago, IL
              the debtor's interest                       60614 (Studio Lease)

                  State the term remaining                4/15/2023                   1647 Wells LLC
                                                                                      c/o Donald Goldstein
              List the contract number of any                                         1653 North Wells Street
                    government contract                                               Chicago, IL 60614


 2.4.         State what the contract or                  245 West 17th Street,
              lease is for and the nature of              New York, NY 10011
              the debtor's interest                       (Studio Lease)

                  State the term remaining                10/9/2023                   245 West 17th St Prop Investor
                                                                                      c/o savanna RE Fund - K. Hoo
              List the contract number of any                                         10 East 53rd St, 37th Fl
                    government contract                                               New York, NY 10022




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 Debtor 1 Flywheel Sports, Inc.                                                                Case number (if known)   20-12158
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   203 East 60th St, New
             lease is for and the nature of               York, NY 10022 (Studio
             the debtor's interest                        Lease)

                  State the term remaining                2/28/2024                    3rd & 60th Associates LP
                                                                                       c/o Olshan Prop - Lease Admin
             List the contract number of any                                           5500 New Albany Road East
                   government contract                                                 New Albany, OH 43054


 2.6.        State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       ABKCO Music, Inc.
             List the contract number of any                                           85 Fifth Avenue
                   government contract                                                 New York, NY 10003


 2.7.        State what the contract or                   1521 Locust Street,
             lease is for and the nature of               Philadelphia, PA 19102
             the debtor's interest                        (Studio Lease)

                  State the term remaining                1/31/2023                    ADR 1521 Locust, L.P.
                                                                                       Attn: Allan Domb
             List the contract number of any                                           1845 Walnut St., Suite 2200
                   government contract                                                 Philadelphia, PA 19103


 2.8.        State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                12/31/2020
                                                                                       American Society of Composers
             List the contract number of any                                           1900 Broadway
                   government contract                                                 New York, NY 10023


 2.9.        State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                4/2021
                                                                                       Aramark Uniform Services
             List the contract number of any                                           115 North First Street
                   government contract                                                 Burbank, CA 91502


 2.10.       State what the contract or                   2130 Broadway, New
             lease is for and the nature of               York, NY 10023 (Studio
             the debtor's interest                        License Agmt/Lease)

                  State the term remaining                12/31/2020                   Beacon Operating LLC
                                                                                       2130 Broadway
             List the contract number of any                                           New York, NY 10023
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.11.       State what the contract or                   Logistics and Services
             lease is for and the nature of               Agmt, Storage Lease
             the debtor's interest

                  State the term remaining
                                                                                       Bergen Shippers Corp
             List the contract number of any                                           5903 West Side Avenue
                   government contract                                                 North Bergen, NJ 07047


 2.12.       State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Bigart Ecosystems (Wisetail)
                                                                                       212 S Wallace
             List the contract number of any                                           Ste B2
                   government contract                                                 Bozeman, MT 59715


 2.13.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Black River Entertainment LLC
             List the contract number of any                                           12 Music Circle South
                   government contract                                                 Nashville, TN 37203


 2.14.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                12/31/2021                   BMG Rights Mgmt (US) LLC
                                                                                       1745 Broadway
             List the contract number of any                                           19th fl
                   government contract                                                 New York, NY 10019


 2.15.       State what the contract or                   800 Boylston Street,
             lease is for and the nature of               Boston, MA 02199
             the debtor's interest                        (Studio Lease)

                  State the term remaining                2/23/2023
                                                                                       BP Prucenter Acquisition LLC
             List the contract number of any                                           800 Boylston Street, Ste 1900
                   government contract                                                 Boston, MA 02199-8103


 2.16.       State what the contract or                   Music Licensing Agmt         Broadcast Music Inc.
             lease is for and the nature of                                            7 World Trade Center
             the debtor's interest                                                     250 Greenwich St
                                                                                       New York, NY 10007
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Agreement for
             lease is for and the nature of               Employee Assistance
             the debtor's interest                        Program Services

                  State the term remaining
                                                                                     Cigna Behaviorial Health Inc.
             List the contract number of any                                         P.O. Box 1450 NW 7307
                   government contract                                               Minneapolis, MN 55485


 2.18.       State what the contract or                   Group Medical
             lease is for and the nature of               Insurance Policy
             the debtor's interest

                  State the term remaining
                                                                                     Cigna Health and Life Ins. Co.
             List the contract number of any                                         PO Box 644546
                   government contract                                               Pittsburgh, PA 15264-4546


 2.19.       State what the contract or                   Group Dental Insurance
             lease is for and the nature of               Policy
             the debtor's interest

                  State the term remaining
                                                                                     Cigna Health and Life Ins. Co.
             List the contract number of any                                         PO Box 644546
                   government contract                                               Pittsburgh, PA 15264-4546


 2.20.       State what the contract or                   Group Dental and
             lease is for and the nature of               Vision Insurance Policy
             the debtor's interest

                  State the term remaining
                                                                                     Cigna Health and Life Ins. Co.
             List the contract number of any                                         PO Box 644546
                   government contract                                               Pittsburgh, PA 15264-4546


 2.21.       State what the contract or                   Equipment Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                3/2021                     Cisco
                                                                                     170 West Tasman Drive
             List the contract number of any                                         Mailstop SJ-13/3
                   government contract                                               San Jose, CA 95134




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.22.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Concord Music Group, Inc.
             List the contract number of any                                         100 N. Crescent Dr
                   government contract                                               Beverly Hills, CA 90210


 2.23.       State what the contract or                   402 Oberlin Road, #104,
             lease is for and the nature of               Raleigh, NC 27605
             the debtor's interest                        (Studio Lease)

                  State the term remaining                12/3/2022                  Crescent Cameron Venture 1 LLC
                                                                                     Attn:Cameron Vill. Prop. Mngr.
             List the contract number of any                                         227 W. Trade St., Ste. 1000
                   government contract                                               Charlotte, NC 28202


 2.24.       State what the contract or                   1180 W Peachtree St
             lease is for and the nature of               NW #106 Atlanta, GA
             the debtor's interest                        30309 (Studio Lease)

                  State the term remaining                8/8/2023                   CRT ACP, LLC
                                                                                     1180 West Peachtree St. NW
             List the contract number of any                                         Suite 2250, Attn: prop. mngr.
                   government contract                                               Atlanta, GA 30309


 2.25.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                8/31/2021
                                                                                     CuTique LLC
             List the contract number of any                                         134 Breeley Blvd.
                   government contract                                               Melville, NY 11747


 2.26.       State what the contract or                   Security System
             lease is for and the nature of               Lease/Service Agmt -
             the debtor's interest                        Park Avenue S.

                  State the term remaining                6/21/2026
                                                                                     DGA Security Systems, Inc.
             List the contract number of any                                         429 West 53rd Street
                   government contract                                               New York, NY 10019


 2.27.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Downton Music Publishing LLC
                                                                                     485 Broadway, 3rd Fl
             List the contract number of any                                         New York, NY 10013
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.28.       State what the contract or                   Laundry Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                10/2020
                                                                                       Elmsford Elite Laundry
             List the contract number of any                                           399A Executive Blvd
                   government contract                                                 Elmsford, NY 10523


 2.29.       State what the contract or                   1875 Connecticut
             lease is for and the nature of               Avenue NW,
             the debtor's interest                        Washington, DC 20009
                                                          (Studio Lease)
                  State the term remaining                7/31/2021                    Family Health International
                                                                                       Attn: Christy McFall
             List the contract number of any                                           1825 Connecticut Avenue NW
                   government contract                                                 Washington, DC 20009


 2.30.       State what the contract or                   415 Greenwich St., New
             lease is for and the nature of               York, NY 10013 (Studio
             the debtor's interest                        Lease)

                  State the term remaining                8/7/2023
                                                                                       Flywheel 415 Greenwich LLC
             List the contract number of any                                           263 13th Ave. South, Suite 340
                   government contract                                                 Saint Petersburg, FL 33701


 2.31.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Global Music Rights, LLC
                                                                                       1100 Glendon Avenue
             List the contract number of any                                           Ste. 2000
                   government contract                                                 Los Angeles, CA 90024


 2.32.       State what the contract or                   65 Montauk Highway,
             lease is for and the nature of               Suite C, East Hampton,
             the debtor's interest                        NY 11937 (Studio
                                                          Lease)
                  State the term remaining
                                                                                       Hardscrabble Commons LLC
             List the contract number of any                                           65 Montauk Highway, Suite A
                   government contract                                                 East Hampton, NY 11937


 2.33.       State what the contract or                   826 Scarsdale Avenue,
             lease is for and the nature of               Scarsdale, NY 10583          Holly Management Corp.
             the debtor's interest                        (Studio Lease)               12 Frontage Street
                                                                                       Elmsford, NY 10523
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining                7/31/2022

             List the contract number of any
                   government contract


 2.34.       State what the contract or                   Software License Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                9/30/2020
                                                                                     HotSchedules
             List the contract number of any                                         3440 Preston Ridge Rd
                   government contract                                               Alpharetta, GA 30005


 2.35.       State what the contract or                   Design &
             lease is for and the nature of               Manufacturing Agmt
             the debtor's interest

                  State the term remaining
                                                                                     Indoor Cycling Group GmbH
             List the contract number of any                                         9525 Bryn Mawr Ave
                   government contract                                               Rosemont, IL 60018


 2.36.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                12/31/2021                 Kobalt Music PublishingAmerica
                                                                                     220 W. 42nd St.
             List the contract number of any                                         11th fl
                   government contract                                               New York, NY 10036


 2.37.       State what the contract or                   Amenities Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                7/2021
                                                                                     Malin + Goetz Inc.
             List the contract number of any                                         330 7th Avenue
                   government contract                                               New York, NY 10001


 2.38.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           MediaNet, Inc.
                                                                                     2401 Elliott Ave
             List the contract number of any                                         Ste 300
                   government contract                                               Seattle, WA 98121




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.39.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Memory Lane Music Group
             List the contract number of any                                          434 West 33rd St
                   government contract                                                New York, NY 10001


 2.40.       State what the contract or                   351 Millburn Avenue,
             lease is for and the nature of               Millburn, NJ 07041
             the debtor's interest                        (Studio Lease)

                  State the term remaining                1/31/2024                   Needar LLC
                                                                                      c/o Nalitt
             List the contract number of any                                          75 Main Street, Suite 202
                   government contract                                                Millburn, NJ 07041


 2.41.       State what the contract or                   710 N State St,
             lease is for and the nature of               Chicago, IL 60654
             the debtor's interest                        (Studio Lease)

                  State the term remaining                7/31/2021                   One Superior Owner LLC
                                                                                      c/o Riverstone Residental OSP
             List the contract number of any                                          1 W. Superior St.
                   government contract                                                Chicago, IL 60654


 2.42.       State what the contract or                   Netsuite Licensing
             lease is for and the nature of               Agmt
             the debtor's interest

                  State the term remaining
                                                                                      Oracle America, Inc.
             List the contract number of any                                          500 Oracle Parkway
                   government contract                                                Redwood City, CA 94065


 2.43.       State what the contract or                   Services Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                2/2021                      PagerDuty
                                                                                      Dept. 3817
             List the contract number of any                                          PO Box 123817
                   government contract                                                Dallas, TX 75312


 2.44.       State what the contract or                   2907 Providence Road,
             lease is for and the nature of               Suites 103 and 104,
             the debtor's interest                        Charlotte, NC 28211
                                                          (Studio Lease)              Providence Plaza Charlotte
                  State the term remaining                9/30/2028                   Attn: Asset Manager
                                                                                      222 Central Park Ave, Suite 20
             List the contract number of any                                          Virginia Beach, VA 23462
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.45.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Pulse Publishing Admin.
             List the contract number of any                                          16130 Ventura Blvd., Ste 310
                   government contract                                                Encino, CA 91436


 2.46.       State what the contract or                   1919 Purdy Avenue,
             lease is for and the nature of               Miami Beach, FL 33139
             the debtor's interest                        (Studio Lease)

                  State the term remaining                6/10/2021                   Purdy Partners 1919, LLC
                                                                                      c/o SRC Properties
             List the contract number of any                                          230 Fifth Street
                   government contract                                                Miami Beach, FL 33139


 2.47.       State what the contract or                   Logistics and
             lease is for and the nature of               Distribution Agmt
             the debtor's interest

                  State the term remaining                2/28/2021
                                                                                      Raze Services, Inc.
             List the contract number of any                                          324 Moore Ave Bldg 7
                   government contract                                                Suffolk, VA 23434


 2.48.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Reservoir Media Mgmt, Inc.
             List the contract number of any                                          225 Varick St., 6th Fl.
                   government contract                                                New York, NY 10014


 2.49.       State what the contract or                   39 W 21st St, New York,
             lease is for and the nature of               NY 10010 (Studio
             the debtor's interest                        Lease)

                  State the term remaining                12/31/2021                  Roseland/Stempel 21st St Assoc
                                                                                      c/o Roseland Property Co
             List the contract number of any                                          150 John F. Kennedy Pkwy, 5 fl
                   government contract                                                Short Hills, NJ 07078


 2.50.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of                                           Round Hill Music LP
             the debtor's interest                                                    650 Fifth Ave.
                                                                                      New York, NY 10019
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.51.       State what the contract or                   Services Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                12/14/2020
                                                                                     Salesforce
             List the contract number of any                                         415 Mission Street, 3rd fl
                   government contract                                               San Francisco, CA 94105


 2.52.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     SESAC LLC
             List the contract number of any                                         35 Music Square East
                   government contract                                               Nashville, TN 37203


 2.53.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Sony Music Entertainment
             List the contract number of any                                         25 Madison Avenue
                   government contract                                               New York, NY 10010


 2.54.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                12/31/2021
                                                                                     Sony/ATV Music Publishing, LLC
             List the contract number of any                                         25 Madison, 22nd fl.
                   government contract                                               New York, NY 10010


 2.55.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                11/16/2020
                                                                                     Spirit Music Group, Inc.
             List the contract number of any                                         235 W. 23rd St., 5th fl
                   government contract                                               New York, NY 10011




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.56.       State what the contract or                   Storage Unit Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Treasure Island Management LLC
             List the contract number of any                                           2325 Hollers Ave
                   government contract                                                 Bronx, NY 10475


 2.57.       State what the contract or                   53-7 West 23rd Street,
             lease is for and the nature of               New York, NY 10010
             the debtor's interest                        (Corporate HQ Lease)

                  State the term remaining                3/31/2030                    Twenty Three R.P. Associates
                                                                                       c/o Adams & Co Real Estate
             List the contract number of any                                           411 Fifth Avenue, 9th Fl.
                   government contract                                                 New York, NY 10016


 2.58.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Ultra Int'l Music Publishing
             List the contract number of any                                           235 West 23rd St., 6th fl.
                   government contract                                                 New York, NY 10011


 2.59.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Universal Music Corp
             List the contract number of any                                           7475 Collections Center Dr
                   government contract                                                 Chicago, IL 60693


 2.60.       State what the contract or                   Corporate Purchasing
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                11/30/2020
                                                                                       WB Mason
             List the contract number of any                                           59 Centre Street
                   government contract                                                 Brockton, MA 02301


 2.61.       State what the contract or                   Music Licensing Agmt
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Word & Music
                                                                                       PO Box 120667
             List the contract number of any                                           Nashville, TN 37212
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.62.       State what the contract or                   Printer Equipment
             lease is for and the nature of               Lease - Primelink 9065
             the debtor's interest

                  State the term remaining                12/2024
                                                                                       Xerox Financial Services LLC
             List the contract number of any                                           201 Merritt 7
                   government contract                                                 Norwalk, CT 06851


 2.63.       State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                11/3/2020
                                                                                       Zendesk
             List the contract number of any                                           1019 Market Street
                   government contract                                                 San Francisco, CA 94103




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 Fill in this information to identify the case:

 Debtor name         Flywheel Sports, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         20-12158
                                                                                                                            Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Flywheel Astor                    53 West 23rd Street, 9th Fl.                     Cortland Capital                D       2.1
             Place LLC                         New York, NY 10010                               Market Svcs.                     E/F
                                                                                                                                G



    2.2      Flywheel                          53 West 23rd Street, 9th Fl.                     Cortland Capital                D       2.1
             Buckhead LLC                      New York, NY 10010                               Market Svcs.                     E/F
                                                                                                                                G



    2.3      Flywheel CCDC,                    53 West 23rd Street, 9th Fl.                     Cortland Capital                D       2.1
             LLC                               New York, NY 10010                               Market Svcs.                     E/F
                                                                                                                                G



    2.4      Flywheel Denver                   53 West 23rd Street, 9th Fl.                     Cortland Capital                D       2.1
             Union Station                     New York, NY 10010                               Market Svcs.                     E/F
                                                                                                                                G



    2.5      Flywheel Domain                   53 West 23rd Street, 9th Fl.                     Cortland Capital                D       2.1
             LLC                               New York, NY 10010                               Market Svcs.                     E/F
                                                                                                                                G




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 Debtor       Flywheel Sports, Inc.                                                      Case number (if known)   20-12158


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            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Flywheel NM LLC                   53 West 23rd Street, 9th Fl.                   Cortland Capital               D       2.1
                                               New York, NY 10010                             Market Svcs.                    E/F
                                                                                                                             G



    2.7      Flywheel Park                     53 West 23rd Street, 9th Fl.                   Cortland Capital               D       2.1
             Avenue LLC                        New York, NY 10010                             Market Svcs.                    E/F
                                                                                                                             G



    2.8      Flywheel Playa                    53 West 23rd Street, 9th Fl.                   Cortland Capital               D       2.1
             Vista, LLC                        New York, NY 10010                             Market Svcs.                    E/F
                                                                                                                             G



    2.9      Flywheel San                      53 West 23rd Street, 9th Fl.                   Cortland Capital               D       2.1
             Francisco, LLC                    New York, NY 10010                             Market Svcs.                    E/F
                                                                                                                             G



    2.10     Flywheel Santa                    53 West 23rd Street, 9th Fl.                   Cortland Capital               D       2.1
             Monica, LLC                       New York, NY 10010                             Market Svcs.                    E/F
                                                                                                                             G



    2.11     Flywheel Sports                   53 West 23rd Street, 9th Fl.                   Cortland Capital               D       2.1
             Parent, Inc.                      New York, NY 10010                             Market Svcs.                    E/F
                                                                                                                             G



    2.12     Flywheel Sports                   53 West 23rd Street, 9th Fl.                   Cortland Capital               D       2.1
             Scottsdale LLC                    New York, NY 10010                             Market Svcs.                    E/F
                                                                                                                             G



    2.13     Flywheel                          53 West 23rd Street, 9th Fl.                   Cortland Capital               D       2.1
             Topanga, LLC                      New York, NY 10010                             Market Svcs.                    E/F
                                                                                                                             G




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 Debtor       Flywheel Sports, Inc.                                                      Case number (if known)   20-12158


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    2.14     Flywheel Walnut                   53 West 23rd Street, 9th Fl.                   Cortland Capital               D       2.1
             Creek LLC                         New York, NY 10010                             Market Svcs.                    E/F
                                                                                                                             G



    2.15     Flywheel                          53 West 23rd Street, 9th Fl.                   Cortland Capital               D       2.1
             Williamsburg                      New York, NY 10010                             Market Svcs.                    E/F
             LLC
                                                                                                                             G




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